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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

CHRISTOPHER TAYLOR                    )
                                      )
                 Plaintiff,           )                Case No. 1:22-cv-00002-LPS
                                      )
         v.                           )
                                      )
NEOPHOTONICS CORPORATION,             )
CHARLES J. ABBE, BANDEL L. CARANO, )                   JURY TRIAL DEMANDED
MICHAEL J. SOPHIE, KIMBERLY Y.        )
CHAINEY, RAJIV RAMASWAMI, IHAB        )
TARAZI, TIMOTHY S. JENKS, YANBING LI, )
and SHERI SAVAGE,                     )
                                      )
                 Defendants.
                                      )

                         PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff voluntarily dismisses the claims in the above-captioned action (the “Action”). Defendants

have neither served an answer or a motion for summary judgment in the Action.

 Dated: February 3, 2022                          LONG LAW, LLC

                                            By: /s/ Brian D. Long
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